Case 2:19-cv-00066-JRG Document 564 Filed 03/29/21 Page 1 of 7 PageID #: 44702




                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF TEXAS
                            MARSHALL DIVISION

OPTIS WIRELESS TECHNOLOGY, LLC,
OPTIS CELLULAR TECHNOLOGY, LLC,              Civil Action No. 2:19-cv-00066-JRG
UNWIRED PLANET, LLC, UNWIRED
PLANET INTERNATIONAL LIMITED,
AND PANOPTIS PATENT                          JURY TRIAL DEMANDED
MANAGEMENT, LLC,

                        Plaintiffs,
                                             ORAL ARGUMENT REQUESTED
              v.

APPLE INC.,

                        Defendant.




        APPLE INC.’S OPPOSITION TO PLAINTIFFS’ MOTION TO STRIKE
           MOTIONS FOR NEW TRIAL AND, IN THE ALTERNATIVE,
                       REQUEST FOR LEAVE TO FILE
Case 2:19-cv-00066-JRG Document 564 Filed 03/29/21 Page 2 of 7 PageID #: 44703




        Apple properly filed five timely Rule 59 motions of less than 15 pages, all raising distinct

issues that each require a new trial. This number is reasonable given the complexity of the case,

the number of asserted patents, the bifurcated nature of the trial (bench and jury), and the number

of issues to address. It also complies with Local Rule CV-7(a)(2). Indeed, Plaintiffs’ new reading

of that rule conflicts with their own practice earlier in this case, exposing their motion for what it

is: an improper attempt to shield the merits from the Court’s scrutiny. This would be improper in

any case, let alone a case of this import involving a half-billion-dollar damages award. Apple

respectfully submits that the Court should reject Plaintiffs’ effort.

       First, as context, Apple’s five motions for a new trial—each of which is within the 15-page

limit of Rule CV-7(a)(2)—are directed to five distinct sets of issues that arose in the bench and

jury trials, namely:

           •   Motion No. 1 seeks a new trial on all issues due to improper exclusion of evidence
               of Plaintiffs’ FRAND obligations.

           •   Motion No. 2 seeks a new trial on all issues due to unfair prejudice arising from
               evidentiary rulings regarding purported “willfulness.”

           •   Motion No. 3 seeks a new trial on infringement due to unfair prejudice arising from
               the Court’s rulings regarding expert testimony.

           •   Motion No. 4 seeks a new trial on damages due to improper jury instructions and
               admission of expert testimony.

           •   Motion No. 5 seeks a new trial on all issues if judgment as a matter of law or a new
               trial is granted as to any one issue, based on the structure of the verdict form and
               the Seventh Amendment.

       Second, Plaintiffs incorrectly assert that Apple’s new trial motions are in “direct violation”

of Local Rule CV-7(a)(2). (Mot. at 1.) On the contrary, that rule expressly provides that a non-

dispositive motion, including a motion for new trial pursuant to Fed. R. of Civ. P. 59, “shall not

exceed fifteen pages.” Local Rule CV-7(a)(2). None of Apple’s motions exceed fifteen pages,

and thus are in accord with the explicit text of the Rule.


                                                      1
Case 2:19-cv-00066-JRG Document 564 Filed 03/29/21 Page 3 of 7 PageID #: 44704




         The gist of the Plaintiffs’ new argument seems to be that Rule CV-7(a)(2) somehow limits

a party to a single motion for a new trial. But Rule CV-7(a)(2) does not say that, nor does it

impose an overall page limit if more than one brief is filed or require that all bases for request for

relief be contained in a single filing--in notable contrast to other rules, which do contain such

limitations. Cf. Local Rule CV-7(a)(3) (stating that if a party files more than one summary

judgment motion, the party is limited to 60 pages collectively); Local Rule CV-7(m) (stating that

“[m]otions in limine should be contained within a single document subject to the page limitations

of Local Rule CV-7(a)(2) for non-dispositive motions”). Instead, Local Rule CV-7(a) generally

requires that each motion “must be filed as a separate document” (emphasis added), which is what

Apple did here.

         Third, Plaintiffs’ new position on Local Rule CV-7(a)(2) is surprising given that, before

trial, both parties filed multiple Daubert motions and motions to strike pursuant to the same rule—

with Plaintiffs filing far more motions than Apple. Indeed, Plaintiffs filed 12 separate Daubert

motions and motions to strike totaling 136 pages, clearly indicating they understood Local Rule

CV-7(a)(2) in the same way as Apple does. Notably, Plaintiffs went even further: unlike Apple,

they filed multiple Daubert motions directed to the same expert—all without seeking leave of

Court. For example, Plaintiffs filed four separate motions totaling 47 pages against Apple’s expert

Dr. Buehrer, three separate motions totaling 29 pages against Apple’s expert Dr. Wells, and two

separate motions totaling 28 pages against Apple’s expert Dr. Lanning, as shown in the following

table:

 Apple            Docket No. Motion
 Expert
 Dr. Buehrer      Dkt. 176     14-page motion to exclude and strike portions of Dr. Buehrer’s
                               rebuttal report on the ’284 patent
                  Dkt. 177     15-page motion to exclude and strike portions of Dr. Buehrer’s
                               opening report on the ’284 patent


                                                      2
Case 2:19-cv-00066-JRG Document 564 Filed 03/29/21 Page 4 of 7 PageID #: 44705




                Dkt. 179      7-page motion to exclude and strike portions of Dr. Buehrer’s
                              opening report regarding invalidity of the ’154 patent
                Dkt. 181      11-page motion to exclude and strike portions of Dr. Buehrer’s
                              rebuttal report regarding noninfringement of the ’154 patent
 Dr. Wells      Dkt. 166      13-page motion to strike portions of Dr. Wells opening report
                              regarding invalidity of the ’833 and ’774 patents and 3GPP
                              processes
                Dkt. 183      8-page motion to exclude and strike portions of Dr. Wells’ rebuttal
                              report regarding noninfringement of the ’774 patent
                Dkt. 184      8-page motion to exclude and strike portions of Dr. Wells’ rebuttal
                              report regarding noninfringement of the ’833 patent
 Mr. Lanning Dkt. 172         13-page motion to strike and exclude portions of Mr. Lanning’s
                              rebuttal reports regarding non-infringement of the ’332 and ’557
                              patents
                Dkt. 173      15-page motion to exclude and strike portions of Mr. Lanning’s
                              opening reports regarding invalidity of the ’332 and ’557 patents

Plaintiffs never attempt to explain why they now believe Apple cannot file multiple Rule 59

motions, but they were able to file multiple Daubert motions and motions to strike before trial.

Such a double standard is not supported by the Rules.

       Fourth, these motions are not excessive but instead are necessary in light of the large

number of issues presented—the jury trial alone involved five asserted patents and, for each patent,

questions of both invalidity and noninfringement (including alleged indirect infringement and

willfulness), as well as a $506 million damages claim. The bench trial involved a variety of other

issues. The bifurcation of issues across the two trials affected the presentation of evidence and

increased the overall complexity of the case.

       Fifth, other parties appearing before this Court have also filed multiple motions for new

trial without seeking leave. See, e.g., Rembrandt Wireless Techs. v. Samsung Elecs. Co., Ltd.,

2:13-cv-00213-JRG, Dkts. 328, 329 (defendants filed a combined Rule 50 and 59 motion on

damages issues and a combined Rule 50 and Rule 59 motion on liability issues); SSL Servs., LLC

v. Citrix Sys., Inc., 2:08-cv-158, Dkts. 299, 302, 304 (defendants filed a combined Rule 50 and 59

motion on damages issues, a combined Rule 50 and 59 motion on liability issues, and combined


                                                     3
Case 2:19-cv-00066-JRG Document 564 Filed 03/29/21 Page 5 of 7 PageID #: 44706




Rule 50 and 59 motion on willfulness issues); Garrison Realty, LP v. Fouse Architecture &

Interiors, P.C., 2:10-cv-576-JRG, Dkts. 146, 147 (defendant filed a combined motion to modify

judgment or, in the alternative, motion for new trial and a supplemental motion for new trial);

OPTi Inc. v. Silicon Integrated Sys. Corp., 2:10-cv-279-JRG, Dkts. 321, 322, 324, 325, 326

(defendant filed two motions for new trial and JMOL motions that sought a new trial in the

alternative).

        Sixth, despite Plaintiffs’ own prior practice under the very same Rule in this same case,

Plaintiffs now falsely accuse Apple of “deceptiveness” because Apple stated that it would not seek

leave for excess pages for motions for new trial. There was no deceptiveness. Apple did not seek

leave for excess pages because it was operating within what the Rules permit on their face and the

parties’ prior practice in this case. Plaintiffs tellingly cite no case indicating that Apple’s

understanding of the Rules—which Plaintiffs likewise followed when it suited them—was in any

way incorrect.

        For all these reasons, Apple respectfully requests that the Court deny Plaintiffs’ motion to

strike.1 To the extent the Court issues a new interpretation of the Rule permitting a party to file

only a single new trial motion of 15 pages, however, Apple asks that the Court construe this

opposition as a motion for leave to file its new trial motions as submitted. Either way, Apple

respectfully submits that Plaintiffs’ attempt to shield the judgment from a full merits analysis is

improper, and that the Court should proceed to conduct that analysis.




1
 Plaintiffs also note that Apple’s JMOL briefing is one page over the Rules’ 60-page limit. This
was inadvertent, and Apple is separately filing a motion to file a corrected version of its JMOL
Motion #2 removing the extra page.


                                                     4
Case 2:19-cv-00066-JRG Document 564 Filed 03/29/21 Page 6 of 7 PageID #: 44707




                                    Respectfully submitted,

  Dated: March 29, 2021            /s/ Mark D. Selwyn
                                   Melissa R. Smith
                                   State Bar No. 24001351
                                   melissa@gillamsmithlaw.com
                                   GILLAM & SMITH, LLP
                                   303 South Washington Avenue
                                   Marshall, TX 75670
                                   Telephone: (903) 934-8450
                                   Facsimile: (903) 934-9257

                                   Mark D. Selwyn (pro hac vice)
                                   mark.selwyn@wilmerhale.com
                                   WILMER CUTLER PICKERING
                                     HALE AND DORR LLP
                                   2600 El Camino Real, Suite 400
                                   Palo Alto, CA 94306
                                   Telephone: (650) 858-6000
                                   Facsimile: (650) 858-6100

                                   Mindy Sooter (pro hac vice)
                                   mindy.sooter@wilmerhale.com
                                   WILMER CUTLER PICKERING
                                     HALE AND DORR LLP
                                   1225 Seventeenth Street, Suite 2600
                                   Denver, CO 80202
                                   Telephone: (720) 274-3135
                                   Facsimile: (720) 274-3133

                                   Joseph J. Mueller (pro hac vice)
                                   Timothy D. Syrett (pro hac vice)
                                   joseph.mueller@wilmerhale.com
                                   timothy.syrett@wilmerhale.com
                                   WILMER CUTLER PICKERING
                                     HALE AND DORR LLP
                                   60 State Street
                                   Boston, MA 02109
                                   Telephone: (617) 526-6000
                                   Facsimile: (617) 526-5000
Case 2:19-cv-00066-JRG Document 564 Filed 03/29/21 Page 7 of 7 PageID #: 44708




                                            Brittany Blueitt Amadi (pro hac vice)
                                            brittany.amadi@wilmerhale.com
                                            WILMER CUTLER PICKERING
                                              HALE AND DORR LLP
                                            1875 Pennsylvania Avenue NW
                                            Washington, DC 20006
                                            Telephone: (202) 663-6000
                                            Facsimile: (202) 663-6363



                                            Attorneys for Defendant Apple Inc.



                                   CERTIFICATE OF SERVICE


       The undersigned hereby certifies that the foregoing document was filed electronically in

compliance with Local Rule CV-5(a). As such, this document was served on March 29, 2021 on

all counsel who have consented to electronic service.


                                                        /s/ Melissa R. Smith
